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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                   :      CRIMINAL NO. 1:22-CR-15
       Plaintiff                            :
                                            :      (JUDGE MEHTA)
          v.                                :
                                            :
JESSICA WATKINS,                            :
THOMAS E. CALDWELL,                         :
KENNETH HARRELSON,                          :
KELLY MEGGS                                 :
                                            :
           Defendants                       :

                              ORDER OF COURT

      AND NOW, this _______day of September 2022, upon consideration of

the within Motion for a Bill of Particulars, IT IS HEREBY ORDERED that the

motion is GRANTED. Accordingly, it is ORDERED that the Government shall

provide a response to the within questions on or before the _____ day of

___________, 2022.




                               BY THE COURT:


                               ____________________________
                               JUDGE MEHTA
